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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO



    MARK ANTHONY BURK,
    Plaintiff,

    v.
                                                          Civil No. 14-1807 (DRD)
    RAFAEL PRESTAMO, CHARLES
    SURFACE, RP MANAGEMENT
    CORP., et al.,

    Defendants.



                                              JUDGMENT

         Pursuant to the Court’s Opinion and Order of the same date (Docket No. 196), the

Court hereby enters a final judgment DISMISSING WITH PREJUDICE:

     1. Plaintiff Mark Anthony Burks 1983 claims against the Commonwealth of Puerto

         Rico and all individual persons therefore; against the Municipality of Bayamón and

         the personal individuals in their personal capacity independent personas of the

         Municipality; RP Management Corp., Rafael Prestamo and Charles Surface,1

     2. Plaintiffs’ Section 1983 claims against the Commonwealth of Puerto Rico and all

         individual Defendants in their official capacity for monetary damages; and

     3. All Fourteenth Amendment claims against Defendants in their official and personal

         capacities.



1 There is no individual employee liability under Title VII and other federal discrimination law. Fantini v.
Salen State Coll., 557 F.3d 22, (1st Cir. 2009). Further, the Supreme Court has established the boundaries
of Bivens-type liability is narrow. See Gonzalez v. Velez, 864 F.3d 45, 52-53 (1st Cir. 2017)(citing
Hernandez v. Mesa, 137 S.Ct. 2003 (2017)) for proposition that the Supreme Court has “made plain its
reluctance to extend the Bivens doctrine to new settings” all relating to a discrimination case seen under
the coverage of a federal employer.
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     Further, DISMISSING WITHOUT PREJUDICE:

  1. Plaintiffs’ claims of violations under Sections 1, 8 and 16 of Article II of the

     Constitution of the Commonwealth of Puerto Rico; and

  2. Plaintiff’s claims wherein he seeks redress under article 1802 of the Puerto Rico

     Civil Code and/or claims against the Defendants based on discrimination claims

     against Defendants in their personal capacity.

  THIS CASE IS NOW CLOSED FOR ALL ADMINISTRATIVE AND STATISTICAL

PURPOSES.

     IT IS SO ORDERED, ADJUDGED AND DECREED.

     In San Juan, Puerto Rico this 2nd day of January, 2018.



                                             /s/ Daniel R. Dominguez
                                             Senior U.S. District Judge
